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IN THE UNITED STATES DISTRICT COURT CLERK U'S' D|ST-R|CT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVAN/I/AST. D|ST. OF PENNSYLVAN!A

UNITED STATES OF AMERICA

v. CriminalNo. /g l }7?-

ROBERT BOWERS

INDICTMENT MEMORANDUM

AND NOW comes the United States of America, by its attorneys, Scott W. Brady,

United States Attorney for the Western District of Pennsylvania, John M. Gore, Acting Assistant

Attorney General, Civil Rights Division, and Soo C. Song and Troy Rivetti, Assistant United

States Attorneys for said district, and submits this Indictrnent Memorandurn to the Court:

I. THE INDICTMENT

A Federal Grand Jury returned a forty-four-count indictment against the above-

named defendant for alleged violations of federal law:

COUNT OFFENSE/DATE

1-11 Obstruction of Free Exercise of Religious Beliefs
Resulting in Death - October 27, 2018

12-22 Use and Discharge of a Firearm to Comrnit Murder
During and in Relation to a Crime of Violence and
Possession of a Firearm in Furtherance of a Crime
of Violence - October 27, 2018

23-24 Obstruction of Free Exercise of Religious Beliefs
Involving an Attempt to Kill and Use of a
Dangerous Weapon, and Resulting in Bodily
lnjury - October 27, 2018

25-26, Use and Discharge of a Firearrn During and in

36-44 Relation to a Crime of Violence and Possession of
a Firearm in Furtherance of a Crime of Violence -
October 27, 2018

TITLE/SECTION

18 U.s.C. §§ 247(3)(2) and
247(d)(1)

18 U.S.C. §§ 924(0)(1)(A)(i),
924(€)(1)(A)(ii),
924(€)(1)(A)(iii), 924(€)(1)(€),
and 924@)(1)

18 U.s.C. §§ 247(3)(2),
247(d)(1), and 247(d)(3)

18 U.s.C. §§ 924(¢)(1)(A)(i),
924(€)(1)(A)(ii),
924(¢)(1)(A)(in), and
924(¢)(1)(€)

 

 

 

Obstruction of Free Exercise of Religious Beliefs
Involving an Attempt to Kill and Use of a
Dangerous Weapon, and Resulting in Bodily
Injury to a Public Safety Officer ~

COUNT OFFENSE/DATE
27-34
October 27, 2018
35

Obstruction of Free Exercise of Religious Beliefs
Involving Use of a Dangerous Weapon and
Resulting in Bodily Injury to a Public Safety
Officer - October 27, 2018

_T_ITLE/S_MN

18 U.s.C. §§ 247(a)(2),
247(d)(1), and 247(d)(3)

18 U.s.C. §§ 247(a)(2) and
247(d)(3)

II. ELEMENTS OF THE OFFENSES

A. As to Counts 1 through ll:

In order for the crime of Obstruction of Free Exercise of Religious Beliefs Resulting

in Death, in violation of 18 U.S.C. §§ 247(a)(2) and 247(d)(l), to be established, the government

must prove all of the following essential elements beyond a reasonable doubt:

l. That the defendant obstructed the person identified in the count in

the enjoyment of that person’s free exercise of religious beliefs;

2. That the defendant used force to do so;
3. That the defendant acted intentionally;
4. That the offense Was in or affected interstate commerce; and
5. That the defendant’s acts resulted in the death of any person.

18 U.S.C. § 247(a)(2), (d)(l); Jury Instructions, United States v.
Dylann Roof, Cr. No. 2:15-CR-00472-RMG (instructing on
elements of 18 U.S.C. §§ 247(a)(2) and (d)(l) death-resulting

violations).

B. As to Counts 12 through 22:

In order for the crime of Use and Discharge of a Firearm to Commit Murder During

 

 

and in Relation to a Crime of Violence and Possession of a Firearm in Furtherance of a Crime of
Violence, in violation of 18 U.S.C. §§ 924(c)(1)(A)(i), 924(0)(1)(A)(ii), 924(0)(1)(A)(iii),
924(0)(1)(€), and 924(]`)(1), to be established§ the government must prove all of the following
essential elements beyond a reasonable doubt:

l. That the defendant committed the Crime of Obstruction of Free
Exercise of Religious Beliefs Resulting in Death as alleged in Counts l through ll of the
Indictment;

2. That during and in relation to the commission of that crime, the
defendant knowingly used or carried a firearm;

3. That the firearm was brandished or discharged during the course of
the offense;

4. That in the course of using, carrying, brandishing, or discharging a
firearm during and in relation to the violation described above, the defendant caused the death of
a person through the use of a firearm; and

5. The killing of the person was a murder as defined in Section 111 1

of Title 18, United States Code.

Third Circuit Model Criminal Jury Instructions 6.18.924B; L. Sand,

et al., Modem Federal Jurv Instructions, No. 35-78 at p. 35-143;

United States v. Ceballos-Torres, 218 F.3d 409 (5th Cir. 2000), a_§

amended, 226 F.3d 651 (2000), cert. denied, 121 S. Ct. 839 (2001).

C. As to Counts 23 through 24:

In order for the crime of Obstruction of Free Exercise of Religious Beliefs
lnvolving an Attempt to Kill and Use of a Dangerous Weapon, and Resulting in Bodily Injury, in

violation of 18 U.S.C. §§ 247(a)(2), 247(d)(l), and 247(d)(3), to be established, the government

must prove all of the following essential elements beyond a reasonable doubt:

 

 

1. That the defendant obstructed, or attempted to obstruct, the person

identified in the count in the enjoyment of that person’s free exercise of religious beliefs;

2. That the defendant used force or the threat of force to do so;

3. That the defendant acted intentionally;

4. That the offense was in or affected interstate commerce; and

5. That the defendant’s acts included an attempt to kill any person or

the use, attempted use, and threatened use of a dangerous weapon, or resulted in bodily injury.

18 U.S.C. § 247(a)(2), (d)(l), (d)(3); Jury lnstructions, United States
v. Dylann Roof, Cr. No. 2:15-CR-00472-RMG.

D. As to Counts 25 through 26, and 36 through 44:
In order for the crime of Use and Discharge of a Firearm During and in Relation to
a Crime of Violence and Possession of a Firearm in Furtherance of a Crime of Violence, in
violation of 18 U.S.C. §§ 924(c)(1)(A)(i), 924(c)(1)(A)(ii), 924(c)(1)(A)(iii), and, 924(c)(l)(C), to
be established, the government must prove all of the following essential elements beyond a
reasonable doubt:
1. That the defendant committed the crime of Obstruction of Free
Exercise of Religious Beliefs as alleged in Counts 23 through 24, and 27 through 35 of the
Indictment;
2. That during and in relation to the commission of that crime, the
defendant knowingly used and carried a firearm; and,
3. That the firearm was brandished or discharged during the course of
the offense

Third Circuit Model Criminal Jury Instructions 6.18.924B.

 

 

 

E. As to Counts 27 through 35:
In order for the crime of Obstruction of Free Exercise of Religious Beliefs lnvolving
An Attempt to Kill and Use of a Dangerous Weapon, and Resulting in Bodily Injury to a Public
Safety Officer, in violation of 18 U.S.C. §§ 247(a)(2), 247(d)(1), and 247(d)(3), to be established,
the government must prove all of the following essential elements beyond a reasonable doubt:
1. That the defendant obstructed, or attempted to obstruct, the persons

identified in the count in the enjoyment of each person’s free exercise of religious beliefs;

2. That the defendant used force or the threat of force to do so;

3. That the defendant acted intentionally;

4. That the offense was in or affected interstate commerce ; and

5. That the defendant’s acts resulted in bodily injury to a public safety

officer performing duties as a direct or proximate result of the defendant’s conduct as alleged in
the count, or included an attempt to kill any person or the use, attempted use, and threatened use

of a dangerous weapon, as alleged in the count of the lndictment.

18 U.S.C. §§ 247(a)(2), 247(d)(1), and 247(d)(3).
III. PENALTIES
A. As to Counts 1 through 11, Counts 23 through 24, and Counts 27
through 34: Obstruction of Free Exercise of Religious Beliefs Resulting in Death or
lnvolving an Attempt to Kill (18 U.S.C. §§ 247(a)(2), 247(d)(l)):
1. A sentence of death or a term of imprisonment for any term of years or for

life (18 U.s.C. § 247(d)(1)).

2. A fine ofnot more than $250,000.00 (18 U.S.C. § 3571(b)(3)).

3. A term ofsupervised release offive (5) years (18 U.S.C. § 3583).

B. As to Count 23 through 24, and Counts 27 through 352 Obstruction of
Free Exercise of Religious Beliefs Resulting in Bodily Injury or lnvolving the Use of a
Dangerous Weapon (18 U.S.C. §§ 247(a)(2), 247(d)(3)):

l. A term of imprisonment of not more than 20 years (18 U.S.C. § 247(d)(3)).

2. A fine ofnot more than $250,000.00 (18 U.S.C. § 3571(b)(3)).

3. A term ofsupervised release ofthree (3) years (18 U.S.C. § 3583).

C. As to Counts 12 through 22: Use and Discharge of a Firearm to
Commit Murder During and in Relation to a Crime of Violence and Possession of a Firearm
in Furtherance of a Crime of Violence (18 U.S.C. §§ 924(c)(1)(A)(i), 924(c)(1)(A)(ii),
924(c)(1)(A)(iii), 924(c)(1)(C), and 924(j)(1)):

l. A sentence of death, or for a term of imprisonment of not less than ten (10)
years and up to life imprisonment Notwithstanding any other provision of law, the court shall not
place on probation or suspend the sentence of any person convicted of a violation of this
subsection, nor shall the term of imprisonment imposed run concurrently with any other term of
imprisonment, including that imposed for the crime of violence during which the firearm was used
(18 U.S.C. §§ 924(c)(1)(A)(iii), 924(c)(1)(D), and 924@)(1)).

In case of a second or subsequent conviction, a sentence of death, or for a term of
imprisonment of not less than 25 years and up to life imprisonment (18 U.S.C. § 924(c)(1)(C)(i)).

2. A fine ofnot more than $250,000.00 (18 U.S.C. § 357l(b)(3)).

3. A term of supervised release ofiive (5) years (18 U.S.C. § 3583).

D. As to Counts 25 through 26, and Counts 36 through 44: Use and
Discharge of a Firearm During and in Relation to a Crime of Violence and Possession of a
Firearm in Furtherance of a Crime of Violence (18 U.S.C. §§ 924(c)(1)(A)(i), 924(c)(1)(A)(ii),
924(c)(1)(A)(iii), and 924(c)(1)(C)):

l. A term of imprisonment of not less than ten (10) years and up to life

imprisonment Notwithstanding any other provision of law, the court shall not place on probation

or suspend the sentence of any person convicted of a violation of this subsection, nor shall the term

 

 

of imprisonment imposed run concurrently with any other term of imprisonment including that

imposed for the crime of violence during which the firearm was used. (18 U.S.C. §§
924(€)(1)(A)(iii), 924(€)(1)(13))-
In case of a second or subsequent conviction, a term of imprisonment of not less

than 25 years and up to life imprisonment (18 U.S.C. § 924(c)(1)(C)(i)).

States v. Sandoval 241 F.3d 549, 550 (7th Cir. 2001).

 

United States v. Gray, 260 F.3d 1267, 1281 (11th Cir. 2001);_[1;1_ited
2. A fine ofnot more than 8250,000 (18 U.S.C. § 357l(b)(3)).
y 3. A term of supervised release of five (5) years (18 U.S.C. § 3583).
y IV. MANDATORY SPECIAL ASSESSMENT
A mandatory special assessment of $100.00 must be imposed at each count upon
which a defendant is convicted, pursuant to 18 U.S.C. § 3013.

V. RESTITUTION

Restitution may be required in this case, together With any authorized penalty, as

part of the defendant’s sentence pursuant to 18 U.S.C. §§ 3663, 3663A, and 3664.

 

 

VI. FORFEITURE

As set forth in the Indictment, forfeiture may be applicable in this case.

Respectfully submitted,

SCOTT W. BRADY
United States Attomey

JOHN M. GORE
Acting Assistant Attomey General
Civil Rights Division

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